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 3
 4                         UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF CALIFORNIA
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 7
     JOHN GARCIA,                            No. 1:07-CV-00867 OWW/DLB
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                 Plaintiff,                  AMENDMENT TO MEMORANDUM
 9         v.                                DECISION RE DEFENDANT ALFREDO
                                             CARDWOOD’S MOTION FOR SUMMARY
10   CITY OF MERCED, CITY OF MERCED          JUDGMENT (Doc. 89)
     POLICE DEPARTMENT, BUREAU OF
11   NARCOTICS ENFORCEMENT SPECIAL
     AGENT SUPERVISOR ALFREDO
12   CARDWOOD, et al.,
13               Defendant.
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           The Memorandum Decision Re: Defendant Alfredo Cardwood’s
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     Motion for Summary Judgment (Doc. 89) filed September 25, 2009 is
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     amended by:
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           1.    Inserting “first prong of the” at page 37, line 27,
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     between “The” and “qualified.”
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           2.    Deleting lines 2 through 6 from Page 41 and inserting:
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     “As to Plaintiff’s stop and detention, after viewing the entirety
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     of the evidence, drawing all inferences in Plaintiff’s favor,
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     Defendant is not entitled to qualified immunity. Disputed material
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     facts remain concerning Agent Cardwood’s alleged wrongful conduct
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     under the Fourth Amendment. To be clear, Defendant is not entitled
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     to   summary   adjudication   under   either   prong   of   the   qualified
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     immunity analysis.       See Hopkins v. Bonvicino, 573 F.3d 752, 763
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     (9th Cir. 2009) (“[A] trial court should not grant summary judgment
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     [on qualified immunity] when there is a genuine dispute as to the
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 1   facts and circumstances within an officer's knowledge or what the
 2   officer and claimant did or failed to do.”)(internal quotation
 3   marks omitted). As to the second prong, the “relevant, dispositive
 4   inquiry ... is whether it would be clear to a reasonable officer
 5   that his conduct was unlawful in the situation he confronted.”
 6   Conn v. City of Reno, 572 F.3d 1047, 1062 (citing Saucier, 533 U.S.
 7   194,   201).      Fourth   Amendment   jurisprudence    clearly     prohibits
 8   seizing individuals without reasonable suspicion or probable cause,
 9   Terry v. Ohio, 392 U.S. 1; Tarr v. Maricopa County, 256 F. App’x
10   71, 73 (9th Cir. 2007), and making fraudulent or omitting material
11   statements in an application for a search warrant, Franks v.
12   Delaware, 438 U.S. 154 (1978); Lombardi v. City of El Cajon, 117
13   F.3d 1117 (9th Cir. 1997). Accepting Plaintiff’s version of events
14   as true, there is a triable issue as to whether the Task Force
15   Agents   seized    Plaintiff   without     probable   cause   or   reasonable
16   suspicion and whether Agent Cardwood made fraudulent statements
17   and/or omitted material information in an application for the
18   search warrant at issue. It would be clear to a reasonable officer
19   that such conduct, if it occurred, is unlawful.”
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21   SO ORDERED
22   Dated: October 1, 2009                     /s/ Oliver W. Wanger
23                                              Oliver W. Wanger
                                                United States District Judge
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